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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   LAUREN CUSICK, Bar #257570
     Assistant Federal Defender
 3   Designated Counsel for Service
     GRANT ZEHNDER
 4   Certified Student Attorney
     801 I Street, 3rd Floor
 5   Sacramento, California 95814
     Telephone: (916) 498-5700
 6
 7
     Attorney for Defendant
 8   PAUL MARCUS RAY
 9
10
                        IN THE UNITED STATES DISTRICT COURT
11
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
12
13
14
     UNITED STATES OF AMERICA,          )   No. 2:09-mj-89-EFB
15                                      )
                    Plaintiff,          )
16                                      )   STIPULATION AND ORDER TO VACATE
          v.                            )   COURT TRIAL AND SET BRIEFING
17                                      )   SCHEDULE
     PAUL MARCUS RAY, AND               )
18   JOHN MATTHEW RAY,                  )
                                        )   Date: February 22, 2010
19                  Defendants.         )   Time: 10:00 a.m.
                                        )   Judge: Hon. Edmund F. Brennan
20   _______________________________
21
22        The United States of America, through SAMANTHA S. SPANGLER,
23   Assistant United States Attorney, together with defendant, PAUL MARCUS
24   RAY, by counsel LAUREN CUSICK, Office of the Federal Defender,
25   stipulate to vacate the court trial set for January 25, 2010, at 10:00
26   a.m., and set this case for hearing defendant’s motion to exclude
27   expert testimony on February 22, 2010 at 10:00 a.m., and set a new
28   court trial date of March 15, 2010 at 10:00 a.m. Defendant JOHN MATTHEW
              Case 2:09-mj-00089-EFB Document 39 Filed 12/30/09 Page 2 of 2


 1   RAY, through his counsel, ERIN RADEKIN, agrees to this stipulation and
 2   order.
 3        The parties stipulate to the following briefing schedule and court
 4   trial date:
 5        Defendant’s Motion due . . . . . . . . . . . . .            January 25, 2010
 6        Government’s Response due . . . . . . . . . . . . February 8, 2010
 7        Defendant’s Reply due . . . . . . . . . . . . .            February 15, 2010
 8        Motion Hearing . . . . . . . . . . February 22, 2010 at 10:00 a.m.
 9        Court Trial Date . . . . . . . . . .          March 15, 2010 at 10:00 a.m.
10
     Dated:    December 30, 2009
11                                             Respectfully submitted,
12                                             DANIEL J. BRODERICK
                                               Federal Defender
13
14                                             /s/ Lauren Cusick
                                               LAUREN CUSICK
15                                             Assistant Federal Defender
                                               Attorney for Defendant
16                                             PAUL MARCUS RAY
17   Dated: December 28, 2009
18                                             /s/ Erin Radekin
                                               ERIN RADEKIN
19                                             Attorney for Defendant
                                               JOHN MATTHEW RAY
20
     Dated: December 28, 2009                  BENJAMIN B. WAGNER
21                                             United States Attorney
22
                                               /s/ Samantha S. Spangler
23                                             SAMANTHA SPANGLER
                                               Assistant United States Attorney
24
                                             ORDER
25
     IT IS SO ORDERED.
26
     Dated: December 30, 2009
27
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     Stipulation and Order                    -2-
